Case 8:20-cv-00048-JVS-JDE Document 16-7 Filed 03/04/20 Page 1 of 2 Page ID #:1273


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 8                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                            SOUTHERN DIVISION
10   MASIMO CORPORATION,
11   a Delaware corporation; and
     CERCACOR LABORATORIES, INC.,               CASE NO. 8:20-cv-00048-DOC-DFM
12   a Delaware corporation,
                                                [PROPOSED] ORDER GRANTING
13                      Plaintiffs,             APPLE INC.’S MOTION TO DISMISS
                                                PLAINTIFFS’ COMPLAINT
14         v.
                                                Hearing
15   APPLE INC.,
     a California corporation,                  Date:            Date: April 6, 2020
16                                              Time:            8:30 AM
                        Defendant.              Courtroom:       9D
17                                              Judge:           Hon. David O. Carter

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     [PROPOSED] ORDER GRANTING APPLE’S MOTION TO DISMISS   CASE NO. 8:20-cv-00048-DOC-DFM
Case 8:20-cv-00048-JVS-JDE Document 16-7 Filed 03/04/20 Page 2 of 2 Page ID #:1274


 1         This matter is before the Court pursuant to Defendant Apple Inc.’s Motion to
 2   Dismiss under Federal Rule of Civil Procedure 12(b)(6).
 3         Having considered the documents filed in support of and in opposition to the
 4   motion, including documents judicially noticed pursuant to the Court’s Order granting
 5   Apple’s Request for Judicial Notice, the argument of counsel, the pleadings on file in
 6   this action, and all other matters properly before the Court, being fully advised on the
 7   proceedings, and for good cause appearing:
 8         IT IS HEREBY ORDERED that Defendant Apple Inc.’s Motion to Dismiss is
 9   GRANTED and the above-captioned case is dismissed with prejudice.
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11         IT IS SO ORDERED.
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      Dated:
13                                                The Honorable David O. Carter
                                                  United States District Judge
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     [PROPOSED] ORDER GRANTING APPLE’S MOTION TO DISMISS      CASE NO. 8:20-cv-00048-DOC-DFM
